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                  EXHIBIT 7
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                                                                                            Pagel


     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                    -   -   -   -   -   X

     VIRGINIA L. GIUFFRE ,


                           Plaintiff ,
                                                                    Case No . :
             - against-                                             15 - cv- 0 7433-RWS


     GHISLAINE MAXWELL ,


                           Defendants .


     -   -   -    -    -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   -   X



                                           **CONFIDENTIAL**


                           Videotaped deposition of GHISLAINE
                 MAXWELL,          taken pursuant to subpoena , was
                 held at the law offices of BOIES
                 SCHILLER          &   FLEXNER, 575 Lexington
                 Avenue, New York, New York , commencing
                 April 22, 2016, 9:04 a.m. , on the above
                 date , before Leslie Fagin , a Court
                 Reporter and Notary Public in the State
                 of New York.



                           MAGNA LEGAL SERVICES
                  12 0 0 Avenue of the Americas
                      New York, New York 10026




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                                                                Page 2
 1
 2   APPEARANCES :
 3
     BOIES SCHILLER & FLEXNER, LLP
 4   Attorneys for Plaintiff
               401 East Las Olas Boulevard
 5             Fort Lauderdatle , Florida , 333 01
     BY:       SIGRID McCAWLEY, ESQUIRE
 6             MEREDITH SCHULTZ, ESQUIRE
               EMMA ROSEN , PARALEGAL
 7
 8
     FARMER JAFFE WEISSING EDWARDS FISTOS &
 9   LEHRMAN , P.L.
                Attorneys for Plaintiff
10              425 N. Andrews Avenue
                Fort Lauderdale, Florida 333 0 1
11   BY:        BRAD EDWARDS, ESQUIRE
12
13   PAUL G . CASSELL, ESQUIRE
     Attorneys for Plaintiff
14              383 South University Street
                Salt Lake City, Utah 84112
15
16
     HADDON MORGAN FOREMAN
17   Attorneys for Defendant
               150 East 10th Avenu
18             Denver, Colorado 802 03
     BY:       JEFFREYS. PAGLIUCA, ESQUIRE
19             LAURA A. MENNINGER , ESQUIRE
20
21   Also Present:
22       James Christe , videographer
23
24
25




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 2   therapists paid?

 3                MR. PAGLIUCA:    Object to the form

 4         and foundation.

 5         A.     They get paid between 1 00 and $2 00 .

 6         Q.     Did it vary based on what sexual

 7   acts they performed?

 8                MR. PAGLIUCA:    Object to the form

 9         and foundation.

10         A.     No.   It varied depending how much
11   time , some massage therapists charge more and

12   some charge less.
13         Q.      Did the massage therapists that
14   were hired to come to the home perform sexual

15   acts for Jeffrey Epstein?

16                 MR. PAGLIUCA:   Object to the form

17         and foundation.

18         A.      What are you asking me?

19         Q.      I' m asking if the massage

20   therapists --
21         A.     Are you asking me about underage

22   girls?
23         Q.      I ' m asking in general, did any of

24   the massage therapists in the home --

25         A.      Are you asking if they were paid




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